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 9
                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
11
12
      CENTER FOR BIOLOGICAL
13    DIVERSITY; WISHTOYO                    Case No. 2:24-cv-05459
      FOUNDATION,
14                                           COMPLAINT FOR
                    Plaintiffs,              DECLARATORY
15                                           AND OTHER RELIEF
16           v.
                                             (National Environmental Policy
17    DEBRA HAALAND, Secretary of            Act, 42 U.S.C. §§ 4321–4347;
      the U.S. Department of the Interior;   Outer Continental Shelf Lands
18    BUREAU OF SAFETY                       Act, 43 U.S.C. §§ 1331–1356c,
      AND ENVIRONMENTAL                      1801–1866; Administrative
19    ENFORCEMENT; BRUCE                     Procedure Act, 5 U.S.C. §§ 551–
20    HESSON, Pacific Regional               559, 701–706)
      Director, Bureau of Safety and
21    Environmental Enforcement,

22                  Defendants.
23
24
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 1                                      INTRODUCTION

 2          1.     For nearly a decade, the federal government has extended the terms of
 3   ExxonMobil Corporations’s oil and gas leases in federal waters off California’s
 4   coast without conducting the meaningful reviews required by law. Specifically,

 5   Defendants Secretary of the U.S. Department of the Interior, the Bureau of Safety
 6   and Environmental Enforcement, and the Bureau’s Pacific Regional Supervisor
 7   (collectively, BSEE) failed to comply with the Outer Continental Shelf Lands Act

 8   (OCSLA), 43 U.S.C. §§ 1331–1356c, 1801–1866, the National Environmental
 9   Policy Act (NEPA), 42 U.S.C. §§ 4321–4347, and the Administrative Procedure
10   Act (APA), 5 U.S.C. §§ 551–559, 701–706, in authorizing extensions of

11   ExxonMobil’s offshore oil and gas leases on the Pacific Outer Continental Shelf.
12          2.     In May 2015, ExxonMobil shut down its oil and gas operations in the
13   Santa Barbara Channel (in what is known as the Santa Ynez Unit) after a corroded

14   onshore pipeline ruptured and spilled what is now believed to be more than
15   460,000 gallons of oil. The Plains All American Pipeline carried oil that
16   ExxonMobil produced at its three platforms in the Santa Ynez Unit. The spill

17   killed hundreds of birds and marine mammals, including dolphins and sea lions.
18          3.     Every year since, while operations remain shut down, BSEE has
19   authorized extensions of the 16 offshore oil and gas leases in the Santa Ynez Unit.

20   BSEE approved the latest extension on November 14, 2023.
21          4.     Without these extensions, each of the leases would have expired and
22   ExxonMobil would have been required to permanently cease its oil and gas

23   operations, plug its wells, and decommission its other infrastructure.
24

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 1          5.     Extending the leases for the Santa Ynez Unit prolongs the existence of

 2   aging oil and gas infrastructure, increasing the risks of oil spills and other
 3   accidents. Extending the leases for the Santa Ynez Unit also prolongs drilling off

 4   California and all the harms that come along with it.

 5          6.     As relevant here, to approve the lease extensions, BSEE had to first
 6   determine that granting the extensions “is in the National interest.” 30 C.F.R.

 7   § 250.180(e). BSEE also had to comply with NEPA. 42 U.S.C. § 4322(C). BSEE

 8   did not properly comply with either requirement.
 9          7.     First, BSEE’s national interest determination failed to consider several

10   highly relevant factors. For example, the agency ignored evidence demonstrating

11   that extending ExxonMobil’s leases is antithetical to the national interest in
12   addressing the climate crisis, promoting public health and environmental justice,

13   recovering endangered species, and otherwise protecting the environment given the

14   numerous harms inherent in offshore oil and gas drilling.
15          8.     Second, BSEE failed to conduct any environmental review under

16   NEPA of the environmental impacts of extending ExxonMobil’s leases. Instead,

17   BSEE deemed the lease extensions categorically excluded from NEPA and
18   determined that no extraordinary circumstances exist that would make application

19   of the categorical exclusion inappropriate. In doing so, BSEE ignored the

20   numerous harms that prolonging oil and gas activity off California perpetuates,
21   including increased risk of oil spills and other accidents from decades-old

22   infrastructure.

23          9.     Accordingly, Plaintiffs Center for Biological Diversity and Wishtoyo
24   Foundation request an order from the Court declaring that BSEE’s November 2023

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 1   approval of the lease extensions violates OCSLA, NEPA, and the APA; vacating

 2   the November 2023 lease extensions; and prohibiting BSEE from issuing any
 3   future lease extensions for the Santa Ynez Unit unless and until BSEE complies

 4   with the law.

 5                              JURISDICTION AND VENUE
 6          10.    The Court has jurisdiction over this matter under 28 U.S.C. § 1331

 7   because this action arises pursuant to the laws of the United States. An actual,

 8   justiciable controversy now exists between Plaintiffs and Defendants, and the
 9   requested relief is proper under 28 U.S.C. §§ 2201–2202 and 5 U.S.C. § 706.

10          11.    Venue is proper in this Court under 28 U.S.C. § 1391(e) because some

11   of the Defendants reside in this District and a substantial part of the events or
12   omissions giving rise to Plaintiffs’ claims occurred in this District.

13          12.    Assignment to the Western Division of this Court is proper under

14   General Order No. 24-04, Section I.B.1.a(1)(b).
15                                           PARTIES

16                                            Plaintiffs

17          13.    Plaintiff Center for Biological Diversity (the Center) is a national,
18   non-profit conservation organization that advocates for the protection of threatened

19   and endangered species and their habitats through science, law, and policy. The

20   Center’s mission also includes protecting air quality, water quality, and public
21   health. The Center has over 79,000 members worldwide, including thousands in

22   California. The Center brings this action on behalf of its members.

23          14.    The Center’s Oceans Program focuses specifically on conserving
24   marine ecosystems and seeks to ensure that imperiled species such as marine

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 1   mammals, sea turtles, and fish are properly protected from destructive practices in

 2   our oceans. The Oceans Program also works to protect coastal communities from
 3   the air pollution, water pollution, and other impacts that result from such practices.

 4   In pursuit of this mission, the Center has been actively involved in protecting the

 5   California coastal environment from offshore oil and gas drilling activity.
 6          15.    The Center’s members regularly visit California beaches and waters—

 7   including the Gaviota coast; the Santa Barbara Channel and its islands; and the

 8   waters near offshore platforms in the Santa Ynez Unit—for vocational and
 9   recreational activities such as swimming, surfing, kayaking, hiking, fishing, diving,

10   camping, viewing and studying wildlife, and photography. The Center’s members

11   derive recreational, spiritual, professional, scientific, educational, and aesthetic
12   benefits from their activities in these areas. The Center’s members intend to

13   continue to use and enjoy these areas frequently and on an ongoing basis in the

14   future.
15          16.    Plaintiff Wishtoyo Foundation (Wishtoyo) is a Native-led California

16   nonprofit public-interest organization with over 700 members primarily composed

17   of Chumash Native Americans and residents of Santa Barbara, Ventura, and Los
18   Angeles counties. Wishtoyo’s mission is to preserve, protect, and restore Chumash

19   culture, the culture of indigenous peoples, and the environment all peoples depend

20   upon. The organization uses education, outreach, cultural programs, scientific
21   study, restoration projects, advocacy, and legal action to attain this mission.

22   Chumash tribes, bands, and clans have a long history of interaction with the marine

23   waters of the Pacific Ocean and the Santa Barbara Channel, from Morro Bay to
24   Malibu and out to and around the Channel Islands. Chumash peoples rely upon

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 1   these lands and waters and their natural cultural resources to support and maintain

 2   Chumash traditional practices, ways of life, and ancestral connections. Wishtoyo’s
 3   members use these lands and waters for ceremonial purposes; to connect with and

 4   celebrate their ancestors and cultural heritage; to gather natural cultural resources;

 5   and for educational purposes, recreational use, wildlife viewing, scientific study,
 6   and environmental monitoring. Wishtoyo’s members intend to continue these uses

 7   as permitted.

 8          17.    Since time immemorial, marine, and terrestrial species have played an
 9   important role in the culture and lifeways of Chumash maritime tribes, bands, and

10   clans. Wishtoyo’s Chumash members continue to have a strong cultural and

11   spiritual interest in the protection of species. Wishtoyo’s Chumash members
12   navigate on tomols (Chumash plank canoes) and by other means through the Santa

13   Barbara Channel, where encountering marine species is essential to their

14   connection with their ancestors and provides them with a spiritual echo through
15   time and connection to the planet as they traverse between the Channel Islands (the

16   origin of the Chumash Peoples) and the mainland. The existence and abundance of

17   species and habitat are also critical to the maintenance of Wishtoyo’s Chumash
18   members’ cultural practices, lifeways, and ceremony.

19          18.    Offshore oil and gas drilling activities degrade these habitats and

20   threaten wildlife and the coastal environment. It also threatens Wishtoyo’s
21   Chumash members’ ability to continue their traditional, educational, recreational,

22   and environmental practices, ways of life, and ancestral connections. For example,

23   offshore oil and gas activities cause oil spills. Oil spills have a wide array of lethal
24   and sublethal impacts on marine species, both immediate and long term. Official

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 1   reports document that the 2015 Plains All American Pipeline spill killed at least

 2   558 birds and 232 mammals, including 19 dolphins (which many Chumash people
 3   consider relatives and ancestors) and 94 sea lions. The spill impacted a wide

 4   variety of nearshore fish species, including surfperch and grunion, which were

 5   spawning when the spill occurred. The actual number of birds killed is likely to be
 6   four times the number of birds recovered. The spill also impacted a variety of

 7   coastal habitats including kelp wrack, feather boa kelp, surfgrass, and eelgrass.

 8   Additionally, the spill prevented Chumash people from participating in the annual
 9   tomol voyage across the Santa Barbara Channel to Limu, Chumash homeland in

10   the Santa Barbara Channel Islands, and the tomol village visits up and down the

11   coast. And an October 2021 oil spill from a pipeline connected to Platform Elly off
12   Huntington Beach killed or injured at least 124 birds and mammals.

13          19.    The risk of oil spills exists from both active and inactive oil and gas

14   wells and other infrastructure. Inactive infrastructure can become badly damaged
15   in storms, as evidenced by the oil spill from an abandoned Taylor Energy platform

16   in the Gulf of Mexico following Hurricane Katrina that leaked oil for 15 years.

17          20.    Offshore drilling activities also increase air pollution that is harmful to
18   public health and discharge wastewater that contaminates the ocean with pollutants

19   that are toxic to marine species. It also requires the shipment of equipment to oil

20   platforms, thereby increasing port and ship traffic, which in turn increase ocean
21   noise and the risk of vessel strikes of whales and other animals.

22          21.    Extending the leases for the Santa Ynez Unit prolongs the existence of

23   the three aging drilling platforms in the Unit (Platforms Harmony, Heritage, and
24   Hondo) and their associated wells and other infrastructure, increasing the risks of

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 1   oil spills. Extending the leases for the Santa Ynez Unit extends oil and gas activity

 2   off California, and all the harmful environmental impacts such activity causes.
 3          22.    Extending the leases for the Santa Ynez Unit degrades Plaintiffs’

 4   members’ recreational, spiritual, scientific, cultural, and aesthetic enjoyment of the

 5   Santa Barbara coast and waters. It harms water quality and wildlife that they study
 6   and observe, decreasing their spiritual and cultural experiences and their ability to

 7   view species that are impacted by offshore drilling activities or abandon the area

 8   because of these activities.
 9          23.    For example, one Center member who lives in Santa Barbara

10   regularly recreates in the area, including in coastal areas and waters near offshore

11   oil platforms. He regularly surfs in places like Rincon and Sands Beach near Santa
12   Barbara, Naples on the Gaviota Coast, Jalama Beach near Point Conception, and

13   Oxnard Shores and Silver Strand in Ventura. He goes as often as possible,

14   generally twice a week. He also hikes, sails, and scuba dives on and around the
15   Channel Islands. While on these trips he enjoys looking for and observing wildlife

16   in the area, including fur seals, blue whales, humpback whales, black abalone, and

17   other animals. He derives aesthetic, emotional, and physical benefits from these
18   activities that are essential to his well-being. Noise pollution, water pollution,

19   vessel strikes, oil spills, and other impacts from oil and gas drilling disturb and

20   harm the animals he enjoys and is interested in seeing and make it less likely he
21   can see these animals in the future. Oil spills that close beaches or ocean waters

22   impede his ability to enjoy recreational activities.

23          24.    The above-described aesthetic, recreational, professional, spiritual,
24   and other interests have been, are being, and will continue to be adversely affected

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 1   and irreparably injured by BSEE’s failure to comply with OCSLA and NEPA.

 2   BSEE’s authorization of extensions of offshore oil and gas leases for the Santa
 3   Ynez Unit without proper review of the related impacts on the environment means

 4   that BSEE is failing to adequately protect California’s ocean and coastal

 5   environment, including already imperiled wildlife, and is exposing these resources
 6   to increased risk of harm.

 7          25.    In addition, Plaintiffs’ members are suffering procedural and

 8   informational injuries resulting from BSEE’s failure to conduct environmental
 9   review on the effects of extending the oil and gas leases for the Santa Ynez Unit.

10          26.    Plaintiffs’ members have no adequate remedy at law and the requested

11   relief is proper. Relief in this case would ensure BSEE prepares a proper national
12   interest determination under OCSLA and an environmental assessment or

13   environmental impact statement under NEPA to analyze the impacts of extending

14   offshore oil and gas leases. The requested relief could result in additional
15   information, process, mitigation, and oversight of offshore drilling that would

16   better protect the ocean and imperiled wildlife and alleviate the injuries of

17   Plaintiffs’ members. An order declaring BSEE’s actions unlawful, vacating
18   BSEE’s authorization of the lease extensions for the Santa Ynez Unit, and

19   prohibiting future extensions unless and until BSEE complies with OCSLA and

20   NEPA would redress the injuries of Plaintiffs’ members.
21                                           Defendants

22          27.    Defendant Debra Haaland is the Secretary of the U.S. Department of

23   the Interior and is sued in her official capacity. The Department of the Interior is
24   responsible for managing and overseeing the development of oil and gas resources

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 1    on the outer continental shelf. Secretary Haaland is the official ultimately

 2    responsible under federal law for ensuring that the actions and management
 3    decisions of the Department of the Interior and its bureaus comply with all

 4    applicable laws and regulations, including OCSLA, NEPA, and the APA.

 5           28.    Defendant Bureau of Safety and Environmental Enforcement is a
 6    federal agency within the Department of the Interior. The Bureau of Safety and

 7    Environmental Enforcement is charged with permitting drilling in federal waters

 8    and ensuring such activities comply with safety and environmental regulations.
 9           29.    Bruce Hesson is the Regional Director of the Pacific Region of the

10    Bureau of Safety and Environmental Enforcement and is sued in his official

11    capacity. Mr. Hesson has responsibility for implementing and fulfilling the
12    Bureau’s duties under OCSLA and NEPA.

13                               STATUTORY BACKGROUND

14                             Outer Continental Shelf Lands Act
15           30.    OCSLA establishes a framework under which the Secretary of the

16    Interior may lease areas of the outer continental shelf for purposes of exploring and

17    developing the oil and gas deposits of the outer continental shelf submerged lands.
18    43 U.S.C. §§ 1331–1356c, 1801–1866. The outer continental shelf generally

19    begins three miles from shore—the outer boundary of most state waters—and

20    extends seaward to the limits of federal jurisdiction. Id. § 1331(a).
21           31.    OCSLA specifically requires that oil production be “subject to

22    environmental safeguards” and balanced “with protection of the human, marine,

23    and coastal environments.” Id. §§ 1332(3), 1802(2).
24

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 1           32.    There are four separate stages to developing an offshore oil well: “(1)

 2    formulation of a 5-year leasing plan …; (2) lease sales; (3) exploration by the
 3    lessees; [and] (4) development and production.” Sec’y of the Interior v. California,

 4    464 U.S. 312, 337 (1984). Each of these “stage[s] involves separate regulatory

 5    review that may, but need not, conclude in the transfer to lease purchasers of rights
 6    to conduct additional activities on the [outer continental shelf].” Id.

 7           33.    At the second stage, the Secretary holds lease sales and can grant

 8    offshore oil and gas leases. 43 U.S.C. § 1337(a)(1). An oil and gas lease “entitle[s]
 9    the lessee to explore, develop, and produce the oil and gas contained within the

10    lease area,” subject to certain approvals. Id. § 1337(b)(4).

11           34.    Generally, leases are for an initial period of five years, id.
12    § 1337(b)(2)(A), “and as long after such initial period as oil or gas is produced

13    from the area in paying quantities,” id. § 1337(b)(2).

14           35.    OCSLA authorizes the Secretary to “prescribe such rules and
15    regulations as may be necessary” to manage oil and gas activities, including for the

16    protection of natural resources. Id. § 1334(a). OCSLA specifies that such

17    “regulations shall, as of their effective date, apply to all operations conducted
18    under a lease.” Id.

19           36.    OCSLA also specifies that the Secretary’s regulations regarding

20    offshore oil and gas leasing must provide for “the suspension or temporary
21    prohibition of any operation or activity, including production” in certain

22    circumstances, including “if there is a threat of serious, irreparable, or immediate

23    harm or damage to life (including fish and other aquatic life) … or to the marine,
24    coastal, or human environment.” Id. § 1334(a)(1).

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 1           37.    The Secretary has delegated its responsibilities under OCSLA to two

 2    bureaus within the Department of the Interior. The Bureau of Ocean Energy
 3    Management is responsible for managing leasing, exploration, development, and

 4    production of oil and gas resources on the outer continental shelf. 30 C.F.R.

 5    § 550.101. The Bureau of Safety and Environmental Enforcement is responsible
 6    for enacting and enforcing safety and environmental standards under OCSLA, as

 7    well as issuing drilling permits. Id. § 250.101. The Bureau of Safety and

 8    Environmental Enforcement is also responsible for approving lease extensions. Id.
 9    § 250.180(e).

10           38.    Under the regulations and as relevant here, a lease will expire at the

11    end of the initial five years unless production is occurring in paying quantities. Id.
12    § 250.180(a)(2). If production ceases on a lease that has continued beyond its

13    primary term, the lease will expire unless production resumes or BSEE approves a

14    suspension of operations or suspension of production within a year after production
15    ceases. Id. § 250.180(d).

16           39.    BSEE can also allow an operator more than a year to resume

17    operations, but only when BSEE determines that “the longer period is in the
18    National interest, and it conserves resources, prevents waste, or protects correlative

19    rights.” Id. § 250.180(e).

20           40.    A suspension or request for additional time to resume operations
21    “extend[s] the term of a lease … equal to the length of time the suspension is in

22    effect.” Id. § 250.169(a). Accordingly, such actions “represent a significant

23    decision to extend the life of oil … production off of California’s coast, with all of
24

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 1    the far reaching effects and perils that go along with offshore oil production.”

 2    California v. Norton, 311 F.3d 1162, 1173 (9th Cir. 2002).
 3           41.    Once a lease expires, BSEE regulations require an oil and gas

 4    company to “permanently plug all wells … within 1 year after the lease

 5    terminates.” 30 C.F.R. § 250.1710. An oil and gas company must also “remove all
 6    platforms and other facilities within 1 year after the lease” expires unless the

 7    company “receive[s] approval to maintain the structure to conduct other activities.”

 8    Id. § 250.1725(a).
 9                             National Environmental Policy Act

10           42.    NEPA is our nation’s charter for environmental protection. NEPA

11    seeks to (1) “prevent or eliminate damage to the environment and biosphere,” (2)
12    “stimulate the health and welfare” of all people, and (3) “encourage productive and

13    enjoyable harmony between [hu]man[kind] and [the] environment.” 42 U.S.C.

14    § 4321.
15           43.    NEPA requires federal agencies to take a “hard look” at the

16    environmental consequences of their actions before acting. Robertson v. Methow

17    Valley Citizens Council, 490 U.S. 332, 350 (1989) (citation omitted). In this way,
18    NEPA ensures that federal agencies “will have available, and will carefully

19    consider, detailed information concerning significant environmental impacts” and

20    that such information “will be made available to the larger [public] audience that
21    may also play a role in both the decisionmaking process and the implementation of

22    th[e] decision.” Id. at 349.

23           44.    To this end, NEPA requires federal agencies to prepare a detailed
24    environmental impact statement (EIS) for any “major Federal action[] significantly

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 1    affecting the quality of the human environment.” 42 U.S.C. § 4332(2)(C). A

 2    “major federal action” is defined as “an action that the agency carrying out such
 3    action determines is subject to substantial Federal control and responsibility.” Id.

 4    § 4336e(10)(A).

 5           45.    An EIS must describe the “reasonably foreseeable environmental
 6    effects of the proposed agency action.” Id. § 4332(2)(C)(i). An EIS must also

 7    examine “a reasonable range of alternatives to the proposed agency action,”

 8    including the alternative of not taking the underlying proposed action. Id.
 9    § 4332(C)(iii).

10           46.    To determine whether the impacts of a proposed action are significant

11    enough to warrant preparation of an EIS, the agency may prepare a preliminary
12    environmental inquiry known as an environmental assessment. See 40 C.F.R.

13    § 1501.5 (2023).1 An agency must include in its environmental assessment

14    “sufficient evidence and analysis for determining whether to prepare” an EIS, and
15    must determine if an EIS is necessary or, if not, issue a “finding of no significant

16    impact.” Id. § 1501.5(c)(1). The environmental assessment must evaluate

17    alternatives to the proposed action and “the environmental impacts of the proposed
18    action and alternatives.” Id. § 1501.5(c)(2). An agency must prepare an EIS if

19    substantial questions are raised whether a project may have a significant effect

20    upon the environment.
21    1
        The Council on Environmental Quality issues regulations implementing NEPA
22    that are “binding on all Federal agencies.” 40 C.F.R. § 1500.3(a). Those
      regulations have undergone various amendments in recent years. See, e.g., 85 Fed.
23    Reg. 43,304 (July 16, 2020); 89 Fed. Reg. 35,442 (May 1, 2024). For purposes of
      this Complaint, Plaintiffs cite the NEPA regulations as they existed at the time
24    BSEE approved its most recent lease extension.

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 1           47.     The only circumstances in which an agency need not prepare an EIS

 2    or environmental assessment for a major federal action is when the action is
 3    “categorically excluded” from NEPA review. Id. § 1501.4. Categorical exclusions

 4    are intended for small, insignificant, and routine actions and can only be invoked

 5    for actions “that normally do not have a significant effect on the human
 6    environment.” Id. § 1501.4(a).

 7           48.     The Department of the Interior has a categorical exclusion for the

 8    issuance of lease extensions. U.S. Dep’t of the Interior, Departmental Manual, 516
 9    DM § 15.4(C)(7) (effective May 27, 2004).

10           49.     In determining whether to rely on an existing categorical exclusion, an

11    agency must analyze whether “extraordinary circumstances” exist that preclude the
12    use of the categorical exclusion and require the preparation of an EIS or

13    environmental assessment. 40 C.F.R. § 1507.3(e)(2)(ii); see also 43 C.F.R.

14    § 46.205(c).
15           50.     The Department of the Interior’s NEPA regulations state that

16    “[e]xtraordinary circumstances … exist for individual actions within categorical

17    exclusions that may meet any of the criteria listed” in the regulations that, if
18    present, preclude categorically excluding a proposed action from NEPA analysis.

19    43 C.F.R. § 46.215. Those criteria include whether a proposed action may “[h]ave

20    significant impacts on public health or safety[;] … natural resources and unique
21    geographic characteristics as historic or cultural resources; park, recreation or

22    refuge lands; … migratory birds;” and species protected under the Endangered

23    Species Act. Id. The criteria also include whether a proposed action has “highly
24    controversial environmental effects[;] … a direct relationship to other actions with

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 1    individually insignificant but cumulatively significant environmental effects[;] …

 2    a disproportionately high and adverse effect on low income or minority
 3    populations;” or if it “[l]imit[s] access to and ceremonial use of Indian sacred sites

 4    on Federal lands by Indian religious practitioners or significantly adversely affect

 5    the physical integrity of such sacred sites.” Id.
 6           51.    According to BSEE, if a proposed action triggers a “yes” answer to

 7    any of the criteria, then it must prepare an EIS or environmental assessment prior

 8    to implementation of the proposed action.
 9                                Administrative Procedure Act

10           52.    The APA governs judicial review of federal agency actions. 5 U.S.C.

11    §§ 701–706. Under the APA, courts “shall … hold unlawful and set aside agency
12    action, findings, and conclusions found to be arbitrary, capricious, an abuse of

13    discretion, or otherwise not in accordance with law” or made “without observance

14    of procedure required by law.” Id. § 706(2)(A), (D).
15                                 FACTUAL BACKGROUND

16                 Oil and Gas Leasing in the Santa Ynez Unit off California

17           53.    There are currently 30 active oil and gas leases and 23 platforms on
18    the Pacific Outer Continental Shelf from which drilling and extraction activities

19    occur or have occurred. Twenty-two of these platforms are production platforms,

20    while one is a processing platform. Eight platforms are located on expired leases.
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 1           54.    Most of the active oil and gas leases are organized into units. The

 2    Santa Ynez Unit is in the Santa Barbara Channel. The Unit consists of 16 leases:
 3    OCS-P 0180, 0181, 0182, 0183, 0187, 0188, 0189, 0190, 0191, 0192, 0193, 0194,

 4    0195, 0326, 0329, and 0461. The federal government issued the leases between

 5    1968 and 1982. The leases all had an initial term of five years.
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18             The Santa Ynez Unit. Map: Bureau of Ocean Energy Management

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 1           55.     Oil and gas production has occurred under these leases from Platform

 2    Harmony, Platform Heritage, and Platform Hondo. Platform Harmony was
 3    installed in June 1989 and first production began in December 1993. Platform

 4    Heritage was installed in October 1989 and first production began in December

 5    1993. Platform Hondo was installed in June 1976 and first production began in
 6    April 1981.

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18                 Platform Hondo. Photo: Bureau of Ocean Energy Management
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20           56.     Until just recently, ExxonMobil owned and operated all three

21    platforms. ExxonMobil’s development plan for the Santa Ynez Unit stated that

22    recovery of the oil and gas reserves in the Unit “will take place over a period of

23    approximately 25 to 35 years.” As first production from the Unit began in 1981,

24    production should have ceased by 2016.

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 1           57.    Sable Offshore Corporation, LLC is now the listed owner and

 2    operator of Platforms Harmony, Heritage, and Hondo and lessee on all 16 oil and
 3    gas leases in the Santa Ynez Unit.

 4           58.    This change of ownership follows a May 20, 2015, oil spill from the

 5    Plains All American Pipeline, which ruptured and spilled what is now believed to
 6    be up to 460,000 gallons of oil on the Santa Barbara Coast. The oil spill closed

 7    beaches and killed wildlife.

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                    Oil spilled onto Refugio Beach. Photo: U.S. Coast Guard
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20           59.    The pipeline transported oil from seven offshore oil and gas platforms

21    to refineries. The broken pipeline shut down production at all seven of those

22    offshore platforms. Operators of four of the seven platforms announced plans to

23    decommission the platforms. ExxonMobil did not.

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 1           60.    Instead, in 2015, ExxonMobil requested an additional year to resume

 2    operations, and BSEE approved that request. Year after year since then, BSEE has
 3    extended the Santa Ynez Unit leases. Most recently, on November 14, 2023, BSEE

 4    approved a lease extension through December 13, 2024.

 5           61.    Nearly a decade has passed since Platforms Harmony, Heritage, and
 6    Hondo shut down, and the leases have not produced oil since then. Absent BSEE’s

 7    extensions, all 16 leases would have all expired. Upon expiration of the leases, all

 8    the wells would need to be permanently plugged and other infrastructure removed
 9    within one year.

10          The Risks of Prolonged Oil and Gas Activity at the Santa Ynez Unit

11           62.    Extending the Santa Ynez Unit leases prolongs reliance on aging
12    infrastructure and offshore oil and gas production. Both create additional harmful

13    environmental effects.

14           63.    For example, the lease extensions increase the risk of oil spills. That
15    risk exists from both the inactive wells during the suspension period and from

16    production activities when they resume. Oil spills can lead to closures of beaches

17    and commercial and recreational fisheries. Oil spills also harm wildlife in
18    numerous ways. Oil can coat animals’ fur, feathers, or skin—impairing their

19    insulation, water repellency, or breathing. For example, oil spills are deadly to sea

20    otters whose oiled furry coats cause hypothermia. Animals can also ingest and
21    inhale oil, causing poisoning and death, organ damage, or respiratory problems.

22    Moreover, oil can contaminate the water column and the seafloor where prey

23    species live, causing indirect effects on wildlife by reducing their key food sources.
24           64.    Exposure to crude oil also adversely affects fish at all stages. Early-

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 1    life stages of fish are particularly sensitive to the effects of toxic oil components

 2    such as polycyclic aromatic hydrocarbons, which can cause larval deformation and
 3    death. Adult fish exposed to oil can suffer from reduced growth, enlarged liver,

 4    changes in heart and respiration rates, fin erosion, and reproductive impairment.

 5    Additionally, fish and sharks are at risk from lethal coating of their gills with oil
 6    and declines in and contamination of their food sources. Exposure to crude oil has

 7    also been linked to long-term population effects in fish. A study based on 25 years

 8    of research demonstrated that embryonic salmon and herring exposed to very low
 9    levels of crude oil can develop heart defects that impede their later survival.

10           65.    Threatened and endangered species such as western snowy plovers,

11    California least tern, blue and humpback whales, leatherback sea turtles, and the
12    tidewater goby are susceptible to exposure to oil from the Santa Ynez Unit.

13           66.    Offshore oil and gas infrastructure is typically designed for a 20- to

14    30-year life. Prior to the 2015 oil spill, drilling had been occurring at the Santa
15    Ynez Unit since 1981, and the last platforms were installed in 1989. The oil and

16    gas infrastructure in the Santa Ynez Unit is beyond its intended lifespan.

17           67.    The age of the oil and gas infrastructure in the Santa Ynez Unit
18    increases the risk of oil spills and other accidents. For example, the Plains All

19    American Pipeline that ruptured in 2015 was built in 1987. The environmental

20    analysis that the Bureau of Land Management and California State Lands
21    Commission prepared in 1985 for the construction and operation of the pipeline

22    acknowledged that spills happen and determined that the risk of a spill would more

23    than double as the pipeline aged from 20 to 40 years.
24           68.    According to scientists, aging poses risks of corrosion, erosion, and

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 1    fatigue stress to subsea pipelines. These impacts accelerate over time and can act

 2    synergistically to increase the rate of crack propagation. Marine environments are
 3    especially known to produce significant corrosion on steel surfaces, and when a

 4    steel structure is at or beyond its elastic limit, the rate of corrosion increases 10 to

 5    15 percent. One offshore pipeline study found that after 20 years, the annual
 6    probability of pipeline failure increases rapidly, equating to a probability of failure

 7    of 10 percent to 100 percent per year. Another study covering 1996 to 2010 found

 8    that accident incident rates, including spills, increased significantly with the age of
 9    infrastructure.

10           69.    Older wells can also lead to oil spills or other accidents. For example,

11    one study found that 30 percent of offshore oil wells in the Gulf of Mexico
12    experienced well casing damage in the first five years after drilling, and damage

13    increased over time to 50 percent after 20 years. Another study determined about

14    five percent of oil and gas wells leak immediately, 50 percent leak after 15 years,
15    and 60 percent leak after 30 years.

16           70.    Federal records show that the Santa Ynez Unit already has

17    experienced problems. Before it shut down, federal inspectors on May 1, 2015,
18    found “numerous corrosion issues” and components out of compliance on Platform

19    Hondo. Just three weeks before that, they also found corrosion, five failed gas

20    detectors, and “leakage rates higher than the maximum allowable” on that
21    platform’s Well H-12U. Platforms Harmony, Heritage, and Hondo had early-2015

22    gas leaks that required their crews to gather for safety reasons, including an

23    incident on Platform Heritage the morning of May 19, 2015. Platform Hondo also
24    had a gas leak on April 27, 2015, and Platform Harmony had one on March 29,

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 1    2015. A federal inspection of Platform Harmony on Aug. 27, 2015, found

 2    corrosion and electrical issues throughout the platform.
 3           71.    Oil and gas activity off California has also entailed the use of well

 4    stimulation treatments such as hydraulic fracturing (“fracking”) and acidizing.

 5    These practices cause significantly worse impacts to the environment and public
 6    health than conventional offshore oil and gas production. The harmful impacts

 7    from well stimulation treatments include the discharge of toxic wastewater; the

 8    emission of hazardous air pollutants; and increased risk of earthquakes and oil
 9    spills, among other harms. ExxonMobil has previously stated it will likely need to

10    use well stimulation treatments to restart its platforms in the Santa Ynez Unit.

11           72.    Oil and gas drilling activity also releases harmful air pollutants like
12    fine particulate matter and volatile organic compounds (VOCs). VOCs emitted

13    during drilling activity can include the “BTEX compounds”—benzene, toluene,

14    ethyl benzene, and xylene—which are designated as hazardous air pollutants. See
15    42 U.S.C. § 7412(b). Many of these VOCs are associated with serious short-term

16    and long-term effects to the respiratory, nervous, and circulatory systems.

17    Additionally, VOCs create ground-level ozone, or smog, which can contribute to
18    asthma, premature death, stroke, heart attack, and low birth weight. Benzene is also

19    a known carcinogen and has been detected in people living within a 10-mile radius

20    of oil wells where fracking has occurred.
21           73.    Oil and gas drilling also includes the discharge of drilling muds and

22    cuttings, produced wastewater, and well treatment and workover fluids. The

23    federal government permits Platforms Harmony, Heritage, and Hondo to discharge
24    more than 33.76 million gallons of produced wastewater into the ocean each year.

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 1    These discharges can contain toxic chemicals like benzene, heavy metals, and

 2    radioactive materials.
 3           74.     Prolonged drilling at the Santa Ynez Unit also increases vessel traffic

 4    through, for example, the servicing of platforms and wells and transporting

 5    materials. This increases the risk of vessel strikes of various endangered animals,
 6    including several species of whales found in the area. Vessel strikes can kill or

 7    injure large whales and other animals by causing blunt force trauma, resulting in

 8    fractures, hemorrhage, and/or blood clots. Direct propeller strikes can result in fatal
 9    blood loss, lacerations, and/or amputations. Vessel collisions are a leading threat to

10    large whales off the U.S. West Coast.

11           75.     Oil and gas drilling exacerbates climate change, which is already
12    causing more intense storms, droughts, and wildfires; sea level rise; a higher risk of

13    extinction for many species; and numerous other harms. Scientists have determined

14    that each barrel of federal California oil left in the ground would equate to roughly
15    half a barrel reduction in net oil consumption, with associated reductions in

16    greenhouse gas emissions. Before it shut down in 2015, the onshore facility that

17    processed oil and gas from the Santa Ynez Unit was Santa Barbara County’s
18    largest source of greenhouse gas emissions. It contributed 55 percent of Santa

19    Barbara County’s total greenhouse gas emissions.

20                 BSEE’s Lease Extensions Fail to Consider Relevant Factors
21           76.     On November 19, 2015, ExxonMobil sought its first request following

22    the Plains All American Pipeline spill for an extension under 30 C.F.R.

23    § 250.180(e) of all 16 of its oil and gas leases in the Santa Ynez Unit. BSEE
24    approved the lease extensions on December 10, 2015. ExxonMobil has applied for,

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 1    and BSEE has granted, lease extensions for its leases in the Santa Ynez Unit every

 2    year since. ExxonMobil submitted its most recent application on October 19, 2023,
 3    and BSEE granted it on November 14, 2023. The current approval expires at

 4    midnight on December 31, 2024.

 5           77.    In granting the most recent extension in November 2023, BSEE
 6    described the proposed action as “[p]er 30 CFR 250.180(e), ExxonMobil is

 7    requesting an additional 365 days beyond the original 180 (and subsequent 365-

 8    day extensions) afforded by 30 CFR 250.180(d) to resume operations on their
 9    leases that have continued beyond their primary term.”

10           78.    In granting the most recent extension in November 2023, as with the

11    extensions before it, BSEE determined that “approving ExxonMobil’s request is in
12    the National interest.” In reaching this conclusion, BSEE determined that “[t]he

13    continued development of these proven reserves from established infrastructure

14    would help meet the Nation’s energy needs without the impacts associated with
15    new infrastructure installations or exploration and development of unproven

16    fields.” It also asserted that “[c]ontinued production would likewise benefit

17    taxpayers through the continued revenue streams derived from production,
18    including royalties and direct and indirect tax revenue to the Federal Government.”

19           79.    In determining that granting the extension would be in the national

20    interest, BSEE did not consider any of the environmental harms (described above)
21    that come with prolonging offshore oil and gas production off California. BSEE

22    did not consider any harms associated with the continued presence of and reliance

23    on aging infrastructure. BSEE also did not consider that ExxonMobil has
24    previously stated that it anticipates using well stimulation treatments to restart its

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 1    platforms in the Santa Ynez Unit.

 2           80.    In granting the most recent extension in November 2023, BSEE also
 3    acknowledged that resumption of activities is possible, stating that if the ruptured

 4    pipeline is replaced or its restart is approved before the lease extension expires,

 5    “then ExxonMobil will have 60 calendar days … to restore production from the
 6    Santa Ynez Unit.”

 7           81.    In granting the most recent extension in November 2023, as with the

 8    extensions before it, BSEE relied on a categorical exclusion under NEPA. As a
 9    result, BSEE did not prepare either an EIS or an environmental assessment to

10    examine the environmental effects of its action extending the leases.

11           82.    BSEE determined that no extraordinary circumstances exist that
12    would make reliance on the categorical exclusion improper.

13           83.    BSEE concluded that there should be no impacts on public health or

14    safety as “there will be no active oil and gas operations during the approved
15    extension period.”

16           84.    BSEE concluded that there should be no impacts on “natural

17    resources, unique geographic characteristics, or ecologically significant or critical
18    areas” because the extension would “allow active oil and gas operations to remain

19    idled during the approved extension period.” BSEE also stated it “will oversee

20    adherence to a preservation plan for safe and environmentally protective
21    maintenance and oversight.”

22           85.    BSEE concluded that there are no controversial environmental effects

23    because the agency’s “action involves approving an extension of suspension of
24    operations during which active oil and gas operations will be idled and the

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 1    facilities maintained pursuant to preservation plans to ensure safety and

 2    environmental protection.”
 3           86.    BSEE concluded that there would be no cumulatively significant

 4    effects in the event production is ultimately restored because such effects “have

 5    already been examined through prior NEPA analyses” and the extension
 6    “represents a temporary suspension in those previously examined activities.”

 7           87.    BSEE concluded that the extension would have no significant impacts

 8    on species listed under the Endangered Species Act and would not “limit access to
 9    and ceremonial uses of Indian sacred sites on Federal lands.”

10           88.    The available information indicates that there are numerous

11    significant environmental effects of BSEE’s extensions of the Santa Ynez Unit
12    leases. BSEE’s conclusion that there are no extraordinary circumstances is

13    incorrect and unsupported.

14           89.    Prior to BSEE’s issuance of the November 2023 lease extensions, the
15    Center sent BSEE a letter, in February 2023, urging the agency to consider the

16    environmental harms from approving further lease extensions and conduct

17    comprehensive NEPA review. BSEE did not do so. It did not respond to the letter.
18                                    CLAIMS FOR RELIEF

19                                     First Claim for Relief

20     Violation of OCSLA and the APA: Unlawful National Interest Determination
21           90.    Plaintiffs reallege and incorporate the allegations in Paragraphs 1

22    through 89 of this Complaint.

23           91.    OCSLA requires that offshore oil and gas activity be “subject to
24    environmental safeguards” and balanced “with protection of the human, marine,

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 1    and coastal environments.” 43 U.S.C. §§ 1332(3), 1802(2).

 2           92.    OCSLA sets initial lease terms of five years, and leases last as long as
 3    they are producing oil and gas in paying quantities. Id. § 1337(b)(2). Non-

 4    producing leases are supposed to expire, and the oil and gas infrastructure used to

 5    produce from those leases generally must be decommissioned within one year of
 6    lease expiration. 30 C.F.R. §§ 250.180(a)(2), 250.1710, 250.1725(a).

 7           93.    If production ceases on a lease that has continued beyond its primary

 8    term, the lease will expire unless production resumes or BSEE approves a
 9    suspension of operations or production before the end of the year after production

10    ceases. Id. § 250.180(d). BSEE can also allow an operator more than a year to

11    resume operations, but only when BSEE determines that “the longer period is in
12    the National interest, and it conserves resources, prevents waste, or protects

13    correlative rights.” Id. § 250.180(e).

14           94.    BSEE’s November 2023 determination that the lease extensions for
15    the Santa Ynez Unit are in the national interest failed to consider relevant factors.

16    BSEE looked only at the purported benefits of issuing the lease extensions so that

17    ExxonMobil could resume production without considering any of the
18    environmental harms from doing so. BSEE did not consider, for example, the risks

19    of oil spills from aging infrastructure, the future use of well stimulations at the

20    Santa Ynez Unit, or the climate impacts that would result from restarting drilling
21    operations at the Santa Ynez Unit.

22           95.    BSEE’s November 2023 issuance of the lease extensions for the Santa

23    Ynez Unit violates OCSLA and its implementing regulations, and is “arbitrary,
24    capricious, an abuse of discretion, or otherwise not in accordance with law” under

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 1    the APA. 5 U.S.C. §706(2)(A).

 2                                    Second Claim for Relief
 3        Violation of NEPA and the APA: Unlawful Use of Categorical Exclusion

 4           96.    Plaintiffs reallege and incorporate the allegations in Paragraphs 1

 5    through 89 of this Complaint.
 6           97.    NEPA requires all federal agencies, including BSEE, to take a “hard

 7    look” at the direct, indirect, and cumulative effects of proposed major federal

 8    actions and at alternatives that could reduce or eliminate those environmental
 9    impacts. 42 U.S.C. § 4332(2)(C)(i)–(iii); 40 C.F.R. § 1502.16. An agency can take

10    the requisite hard look at a major federal action by preparing an environmental

11    assessment or an EIS. 42 U.S.C. § 4332(2)(C); 40 C.F.R. § 1501.5.
12           98.    BSEE’s approval of extensions for the offshore oil and gas leases in

13    the Santa Ynez Unit constitutes a major federal action.

14           99.    Yet, in approving the extensions in November 2023, BSEE failed to
15    take a hard look at the environmental effects of extending these federal offshore oil

16    and gas leases. BSEE did not prepare an EIS or environmental assessment on the

17    lease extensions. Instead, BSEE relied on a categorical exclusion. In doing so,
18    BSEE failed to consider the direct, indirect, and cumulative effects of the lease

19    extensions and failed to consider a reasonable range of alternative to its action.

20           100. BSEE’s reliance on a categorical exclusion in issuing the November
21    2023 lease extensions for the Santa Ynez Unit is arbitrary and violates NEPA.

22    BSEE failed to consider important aspects of the action. BSEE failed to consider

23    the significant environmental impacts of leaving non-producing infrastructure in
24    place; and of oil spills, water pollution, air pollution, and other harms associated

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 1    with prolonging offshore drilling from aging infrastructure.

 2           101. BSEE failed to consider relevant factors and reached conclusions
 3    contrary to the evidence before the agency in determining no extraordinary

 4    circumstances apply. As one example, BSEE determined that “[a]ny cumulative

 5    effects from ongoing future production, in the event that production is ultimately
 6    restored, have already been examined through prior NEPA analyses.” But BSEE

 7    has never examined the cumulative effects of oil and gas production activities off

 8    California. As another example, BSEE determined there would be no adverse
 9    impacts to public health, ecologically critical areas, cultural resources, access to

10    sacred sites, or endangered and threatened species because oil and gas activity

11    would be idle during the extension period. But BSEE acknowledged in approving
12    the lease extension that production could resume during the extension period.

13           102. BSEE’s consideration of the impacts to public health, ecologically

14    critical areas, cultural resources, access to sacred sites, threatened and endangered
15    species, and other factors in its extraordinary circumstances review looked only at

16    the potential impacts during the suspension of operations—not the impacts of

17    active oil and gas production. In contrast, both ExxonMobil’s lease extension
18    applications and BSEE’s national interest determination only considered and relied

19    on the purported benefits of production.

20           103. BSEE’s reliance on a categorical exclusion to approve the November
21    2023 lease extensions and its extraordinary circumstances review violate NEPA, its

22    implementing regulations, and is “arbitrary, capricious, an abuse of discretion, or

23    otherwise not in accordance with law” under the APA. 5 U.S.C. §706(2)(A).
24    BSEE’s failure to prepare an EIS or environmental assessment on the lease

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 1    extensions violates NEPA, its implementing regulations, and is “arbitrary,

 2    capricious, an abuse of discretion, or otherwise not in accordance with law” and
 3    made “without observance of procedure required by law” under the APA. Id.

 4    § 706(2)(A), (D).

 5                                   REQUEST FOR RELIEF
 6           Plaintiffs respectfully request that the Court grant the following relief:

 7           1. Declare that BSEE’s November 2023 approval of lease extensions for the

 8    Santa Ynez Unit violates OCSLA, its implementing regulations, and the APA;
 9           2. Declare that BSEE’s November 2023 approval of lease extensions for the

10    Santa Ynez Unit violate NEPA, its implementing regulations, and the APA;

11           3. Vacate and remand the November 2023 lease extensions for the Santa
12    Ynez Unit;

13           4. Prohibit BSEE from authorizing additional lease extensions for the Santa

14    Ynez Unit unless and until it complies with OCSLA, NEPA, and the APA;
15           5. Award Plaintiffs their costs of this action, including reasonable attorneys’

16    fees; and

17           6. Grant such other relief as this Court deems just and proper.
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      Respectfully submitted this 27th day of June 2024,
19
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